                          United States District Court
                        Western District of North Carolina
                               Asheville Division

          Vanda Kay Moore                           JUDGMENT IN CASE

             Plaintiff(s),                            1:21-cv-00094-KDB

                 vs.

           Kilolo Kijakazi,
    Acting Commissioner of Social
               Security

            Defendant(s).



DECISION BY COURT. This action having come before the Court by Motion and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 16, 2021 Order.




                                               November 16, 2021




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